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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
AE                                                  271 Cadman Plaza East
F. #2023R00063                                      Brooklyn, New York 11201


                                                    March 13, 2023


By ECF

The Honorable Hector Gonzalez
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

              Re:      United States v. Chi Kwan Wong,
                       Criminal Docket No. 23-088 (HG)

Dear Judge Gonzalez:

                The government moves the Court to enter the attached proposed protective order
pursuant to Federal Rule of Criminal Procedure 16(d). Upon request, the government will
provide discovery to the defendant pursuant to Federal Rule of Criminal Procedure 16. The
discovery materials in this matter include voluminous records containing individually
identifiable health information (defined as health information that is connected to a patient’s
name, address, Social Security Number or other identifying number, including Medicare HIC
number) and financial information entitled to be kept confidential. The proposed order will
expedite the flow of discovery and ensure that individually identifiable health and financial
information is adequately protected.
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                Counsel for the defendant has consented to the entry of the proposed order.


                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney
                                                     Eastern District of New York

                                                     GLENN S. LEON
                                                     Chief
                                                     Fraud Section, Criminal Division
                                                     U.S. Department of Justice

                                             By:      /s/ Andrew Estes
                                                     Andrew Estes
                                                     Trial Attorney
                                                     Fraud Section, Criminal Division
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Enclosures

cc:      Clerk of the Court (HG) (by ECF)
         Counsel of Record (by ECF)




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